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 8                             UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10   BACKGRID USA, INC.,                             Case No.: 2:21-cv-7887 CAS(ASx)
11                Plaintiff,                         Hon. Christina A. Snyder
12         v.                                        NOTICE OF SETTLEMENT AND
                                                     REQUEST TO ABATE
13   SCOTT DISICK et al.,
14                Defendants.
15

16   TO THE COURT, ALL PARTIES, AND ATTORNEYS OF RECORD:
17         PLEASE TAKE NOTICE that the parties have executed a settlement that will
18   resolve the matter completely. The agreement anticipates performance within 45
19   days, after which Plaintiff is to dismiss the action with prejudice. The parties
20   respectfully request that the Court abate the action and vacate existing deadlines to
21   allow time for this process.
22

23   Dated: January 13, 2022        PERKOWSKI LEGAL, PC
24                                  By:    /s/ Peter Perkowski
25                                        Peter E. Perkowski
                                          Attorneys for Plaintiff
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                                      NOTICE OF SETTLEMENT
